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   Attorneys for Defendants Sunrise Hospital and Medical
 9 Center, LLC, including its Board of Trustees, Susan
   Reisinger, M.D., and Katherine Keeley, M.D., D.D.S.
10
                                  UNITED STATES DISTRICT COURT
11                                       DISTRICT OF NEVADA

12 NAVNEET SHARDA, M.D., an Individual,                   Case No. 2:16-cv-02233-JCM-GWF

13                                Plaintiff,             STIPULATION AND ORDER TO EXTEND
14                 vs.                                   DISCOVERY

15 SUNRISE HOSPITAL AND MEDICAL                          (THIRD REQUEST)
   CENTER, LLC, a foreign limited liability
16 company; THE BOARD OF TRUSTEES OF
   SUNRISE HOSPITAL; SUSAN REISINGER, an
17 individual; DIPAK DESAI, an individual;
   NEVADA STATE BOARD OF MEDICAL
18 EXAMINERS; KATHERINE KEELEY, an
   individual; DOE Individuals I through X; and
19 ROE CORPORATIONS and
   ORGANIZATIONS I through X, inclusive,
20
                                 Defendants.
21

22          Pursuant to Fed. R. Civ. P. 16(b), LR IA 6-1, LR 7-1, and LR 26-4, Plaintiff Navneet
23   Sharda, M.D. (“Dr. Sharda” or “Plaintiff”) and Defendants Sunrise Hospital and Medical Center,
24   LLC (including its Board of Trustees) (“Sunrise Hospital”), Susan Reisinger, M.D. (“Dr.
25   Reisinger”), and Katherine Keeley, M.D., D.D.S. (“Dr. Keeley”) (the “Sunrise Defendants”)
26   (collectively, the “Parties”) through their undersigned counsel, hereby stipulate and agree as
27   follows:
28

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 1                                       PROCEDURAL HISTORY
 2          1.       On September 22, 2016, Dr. Sharda initiated this matter by suing Sunrise Hospital.
 3   (ECF No. 1, Compl.)
 4          2.       On October 18, 2016, Dr. Sharda filed a Motion for Temporary Restraining Order and
 5   Preliminary Injunction (“Motion for TRO”). (ECF No. 7, Motion for TRO.)
 6          3.       On October 26, 2016, the Court entered an order denying Dr. Sharda’s Motion for
 7   TRO. (ECF No. 8, Order.)
 8          4.       On November 15, 2016, Dr. Sharda filed a First Amended Complaint as a matter of
 9   right, adding Dr. Reisinger, Dipak Desai, M.D. (who is deceased) the Nevada State Board of
10   Medical Examiners (the “Medical Board”), and Ms. Keeley as parties. (ECF No. 11, First Am.
11   Compl.)
12          5.       On December 9, 2016, the Medical Board filed a motion to dismiss all claims asserted
13   against it by Dr. Sharda. (ECF No. 27.)
14          6.       On July 18, 2017, the Court entered an order granting the Medical Board’s motion to
15   dismiss. (ECF No. 59.)
16          7.       On December 30, 2016, the Sunrise Defendants filed their motion to dismiss (the
17   “Motion to Dismiss”). (ECF No. 36.)
18          8.       On March 6, 2017, the Parties filed a Proposed Discovery Plan and Scheduling Order
19   and Stipulation and Order for Stay of Discovery. (ECF Nos. 51, 52.)
20          9.       On March 7, 2017, the Court denied the Stipulation and Order for Stay of Discovery.
21   (ECF No. 53.)
22          10.      On March 14, 2017, the Parties filed a second Stipulation and Order to Stay
23   Discovery. (ECF No. 54.)
24          11.      On March 27, 2017, the Court granted the Stipulation and Order to Stay Discovery.
25   (ECF No. 57.)
26          12.      On July 3, 2017, the Court entered an order granting the Motion to Dismiss in part,
27   and denying it in part. (ECF No. 58, Order.)
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 1          13.      With respect to Dr. Sharda’s claims for breach of contract and tortious interference,
 2   the Court ordered Dr. Sharda to exhaust the administrative remedies afforded to him under the
 3   Bylaws prior to proceeding with the matter, noting that “any breach or disruption could be resolved
 4   by compelling a fair hearing.” (Id. at 12:1-8.)
 5          14.      Dr. Sharda received a fair hearing on August 10, 2017 (the “Fair Hearing”).
 6          15.      On August 13, 2017, the Fair Hearing Committee issued its Fair Hearing Report, and
 7   affirmed the Medical Executive Committee’s (“MEC”) decision to accept the Credential
 8   Committee’s recommendation to deny Dr. Sharda’s request for Medical Staff membership and
 9   clinical privileges. (ECF No. 65.)
10          16.      On August 25, 2017, Dr. Sharda requested an appellate review of the MEC’s
11   decision. (ECF No. 65.)
12          17.      On November 14, 2017, an Appellate Review Panel (the “Review Panel”) reviewed
13   the MEC’s decision pursuant to the Bylaws. (ECF No. 65.)
14          18.      On November 22, 2017, the Review Panel issued its Report, affirming the MEC’s
15   decision.
16          19.      On January 29, 2018, Plaintiff’s attorney, Peter M. Angulo, Esq. of the law firm of
17   Olson, Cannon, Gormley, Angulo & Stoberski, was substituted in place of P. Sterling Kerr, Esq.
18   (ECF No. 68.)
19          20.      On March 19, 2018, the Court entered a Joint Proposed Discovery Plan and
20   Scheduling Order (the “Scheduling Order”). (See ECF No. 73.)
21          21.      The Scheduling Order had a discovery cutoff of August 3, 2018. (Id.)
22          22.      On July 5, 2018, the parties submitted to the Court a Stipulated Motion to Extend
23   Discovery (First Request). (ECF No. 80.)
24          23.      On July 6, 2018, the Court accepted same with the discovery cutoff being extended to
25   January 30, 2019, the last day to file pretrial motions was extended to March 1, 2019, and the last
26   day to file the Joint Pretrial Order was extended to April 1, 2019, thirty (30) days after the date set
27   for filing dispositive motions). (ECF No. 81.)
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 1          24.      On September 14, 2018, the parties submitted to the Court a Stipulated
 2   Confidentiality Agreement and Protective Order. (ECF No. 86.)
 3          25.      On September 21, 2018, the Court denied the parties’ Stipulated Confidentiality
 4   Agreement and Protective Order. (ECF No. 90.)
 5          26.      On September 21, 2018, the parties submitted a revised Stipulated Confidentiality
 6   Agreement and Protective Order. (ECF No. 91.)
 7          27.      On September 26, 2018, the Court granted the parties’ Stipulated Confidentiality
 8   Agreement and Protective Order. (ECF No. 92.)
 9          28.      On September 17, 2018, Dr. Sharda served a 30(b)(6) deposition subpoena on Lara
10   Ward, a former employee of the Nevada State Board of Medical Examiners.
11          29.      On October 26, 2018, the Board of Medical Examiners filed a Motion to Quash
12   Subpoena or, Alternatively, Motion for Protective Order, requesting the Court quash the Subpoena to
13   Testify at a Deposition in a Civil Action served on Lara Ward by Plaintiff (the “Motion to Quash”).
14   (ECF No. 96.)
15          30.      On November 5, 2018, the Sunrise Defendants filed a Joinder in the Board of Medical
16   Examiners’ Motion to Quash and a separate Motion for Protective Order. (ECF Nos. 98, 99.)
17          31.      On November 6, 2018, Plaintiff filed his Opposition to the Board of Medical
18   Examiners’ Motion of Quash. (ECF No. 101.)
19          32.      On November 13, 2018, the Nevada Board of Medical Examiners filed its Reply.
20   (ECF No. 102.)
21          33.      On December 14, 2018, the Court granted: (1) the Board of Medical Examiners’
22   Motion to Quash; and (2) the Sunrise Defendants’ Motion for Protective Order. (ECF No. 105.)
23          34.      On February 22, 2019, Bryan Naddafi, Olympia Law P.C., filed a Request for
24   Approval of Withdrawal of Counsel. (ECF No. 108).
25          35.      On February 25, 2019, the Court granted Bryan Naddafi’s Request for Approval of
26   Withdrawal of Counsel. (ECF No. 109.)
27                                LR 26-4(a) –Discovery Completed to Date
28          36.      On March 30, 2018 Plaintiff served his initial disclosures in this matter.

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 1             37.   On March 30, 2018, Defendants served their initial disclosures in this matter.
 2             38.   On April 6, 2018, Plaintiff served his First Set of Request for Production of
 3   Documents to Defendants. Defendants served their Responses on May 7, 2018.
 4             39.   On April 23, 2018, Plaintiff propounded his Second Set of Request for Production of
 5   Documents to Defendants. Defendants served their Responses on May 23, 2018.
 6             40.   On May 8, 2018, Plaintiff propounded Request for Admissions to Defendants.
 7   Defendants served their Responses on June 28, 2018.
 8             41.   On June 22, 2018, Plaintiff served a Custodian of Records deposition subpoena on the
 9   Nevada State Board of Medical Examiners.
10             42.   On July 18, 2018, Plaintiff served his first supplement to initial disclosures in this
11   matter.
12             43.   On August 14, 2018 Plaintiff served a subpoena on Parallon Healthcare. Parallon
13   Healthcare objected to that subpoena on August 22, 2018.
14             44.   On August 24, 2018, Plaintiff served a subpoena on the Person Most Knowledgeable
15   of the Nevada State Board of Medical Examiners.
16             45.   On September 17, 2018, Plaintiff served a deposition subpoena on Joani Morell. Ms.
17   Morell’s deposition was taken on November 26, 2018.
18             46.   On September 17, 2018, Plaintiff served a deposition subpoena on Todd Sklamberg.
19             47.   On September 17, 2018, Plaintiff served a 30(b)(6) deposition subpoena on Lara
20   Ward, a former employee of the Nevada State Board of Medical Examiners.
21             48.   On October 19, 2018, Plaintiff propounded his Third Set of Requests for Production
22   of Documents to the Sunrise Defendants. The Sunrise Defendants served their Responses on
23   November 26, 2018.
24             49.   On November 21, 2018, the Sunrise Defendants served their first supplement to initial
25   disclosures.
26             50.   On November 27, 2018, the Sunrise Defendants served their second supplement to
27   initial disclosures.
28

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 1                           LR 26-4(b) –Discovery Remaining to be Completed
 2           51.     Additional disclosures made by the parties as discovery continues.
 3           52.     The Sunrise Parties have identified an additional source of potentially responsive
 4   documents/emails and are in the process of reviewing the documents/emails. The additional
 5   documents/emails were obtained through an archival retrieval method—which was time intensive
 6   and burdensome. Due to issues with the Sunrise Defendants’ vendor in reviewing and redacting
 7   these documents, additional time is required to complete same and produce any responsive
 8   documents/emails from the source.
 9           53.     The Sunrise Defendants intend to serve Requests for Production, Requests for
10   Admissions, and Interrogatories on Dr. Sharda.
11           54.     Dr. Sharda anticipates deposing additional witnesses.
12           55.     Dr. Sharda anticipates taking the depositions of Dr. Reisinger, Dr. Keeley, Dawn
13   Andreas, and Todd Sklamberg.
14           56.     The Sunrise Defendants anticipate taking the deposition of Dr. Sharda to position
15   themselves for an anticipated motion for summary judgment which they have indicated they intend
16   to file at the close of discovery.
17      LR 26-4(c) –Reasons Why Remaining Discovery Cannot be Completed within Deadlines
18           57.     The Sunrise Defendants have identified an additional source of potentially responsive
19   documents/emails and are in the process of reviewing the documents/emails. The additional
20   documents/emails were obtained through an archival retrieval method—which was time intensive
21   and burdensome. Due to issues with the Sunrise Defendants’ vendor in reviewing and redacting
22   these documents, additional time is required to complete same and produce any responsive
23   documents/emails from the source.
24           58.     Plaintiff’s counsel has been in trial on another matter and that action required a
25   substantial amount of time.
26           59.     For these reasons, the Parties seek to extend the current Discovery Cut-Off deadline
27   to complete discovery.
28

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 1          60.      This is the third request for an extension of deadlines and is not intended to cause any
 2   delay or prejudice to any party.
 3                   LR 26-4(d) –Proposed Schedule to Complete Remaining Discovery
 4          61.      Based on the forgoing, good cause exists to extend the discovery deadlines by ninety
 5   (90) days, which the Parties believe is sufficient time to complete the outstanding discovery.
 6          62.      The Parties stipulate and agree to extend the following discovery deadlines:
 7                   a.     Discovery Cut-Off:                             July 29, 2019
 8                   b.     Deadline to File Dispositive Motions:          August 28, 2019
 9                   c.     Deadline to File Joint Pretrial Order:         September 30, 2019
                                                                           (or 30 days after the Court
10                                                                         announces a decision on any
                                                                           dispositive motions)
11

12          63.      The Parties certify this request is made in good faith and for the reasons set forth
13   above and is not an attempt to unnecessarily delay this matter nor to waste judicial resources. The
14   Parties agree to work together in an effort to resolve discovery disputes with a minimum of Court
15   interference.
16   DATED this 25th day of March, 2019.             DATED this 25th day of March, 2019.
17   BAILEY KENNEDY                                 OLSON, CANNON, GORMLEY, ANGULO & STOBERSKI
18   By: /s/ Paul C. Williams                        By: /s/ Peter M. Angulo
          JOHN R. BAILEY                                 PETER M. ANGULO
19        JOSHUA M. DICKEY                               NEV. Bar No. 3672
          PAUL C. WILLIAMS                               9950 West Cheyenne Avenue
20   Attorneys for Defendants Sunrise                    Las Vegas, Nevada 89129
     Hospital and Medical Center, LLC,                   Telephone: (702) 384-4012
21   including its Board of Trustees, Susan              Facsimile: (702) 383-0701
     Reisinger, M.D., and Katherine Keeley,              pangulo@ocgas.com
22   M.D., D.D.S.                                    Attorneys for Plaintiff
23

24                                                  ORDER
25          IT IS SO ORDERED.
26
                                                            UNITED STATES MAGISTRATE JUDGE
27
                                                                     March 26, 2019
28                                                          Dated:

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